Case 1:25-cv-00306-RDM Document 40 _ Filed 03/18/25 Page 1 of 20

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Refugee and Immigrant Center
For Education and Legal Services, et al.,

Plaintiffs,

Vv. Civil Action No. 1:25-cv-00306

Kristi Noem, Secretary, U.S.
Department of Homeland

Security, et al.,

Defendants.

Tame ee Nee Ne Nee Ne Nee ne Nee ee nee ee ee ee”

[PROPOSED] PROTECTIVE ORDER
To facilitate the exchange of records and information for purposes of this litigation
without undermining legitimate confidentiality concerns, and pursuant to Rule 26(c) of the
Federal Rules of Civil Procedure, the Court enters the following Protective Order (“Protective
Order’).
I. DEFINITIONS

A. Action — RAICES, et al. v. Noem, et al., Case No. 1:25-cv-00306 (D.D.C.).

B. Agency Counsel — attorneys who are employees of an agency, Department, or Office that
a Defendant to this Action leads. Agency Counsel does not include Counsel of Record or
any other outside counsel.

C. Challenging Party — a Party that challenges the designation of information or items under

this Order.

D. CONFIDENTIAL Information or Items — a Protected Information designation that applies

to Protected Information that does not qualify for CONFIDENTIAL — ATTORNEYS’
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 2 of 20

EYES ONLY designation.

. CONFIDENTIAL — ATTORNEYS’ EYES ONLY Information or Items — a Protected

Information designation that may be used for sensitive law enforcement information,
proprietary information, or information from, relating to, or exchanged with a foreign
government, the disclosure of which to non-qualified people the Producing Party
reasonably and in good faith believes would likely jeopardize the safety of law enforcement
officers or the public, impede on the use of proprietary technology or databases, threaten
law enforcement operations or ongoing investigations, or damage relations with a foreign
government.

- Counsel — Counsel of Record and Agency Counsel (as well as their support staff) and
specifically excluding all Parties. :

. Counsel of Record — attorneys who represent or advise a Party to this Action and have

appeared in this Action on behalf of that Party.

. Designating Party — a Party or Non-Party that designates information or items that it

produces in disclosures or in response to discovery as “CONFIDENTIAL” or
“CONFIDENTIAL - ATTORNEYS’ EYES ONLY.”

Discovery Material — all items or information, regardless of the medium or manner in

which it is generated, stored, or maintained (including, among other things, testimony,
transcripts, and tangible things), that are produced or generated in disclosures or responses
to discovery in this matter. .

Expert — a person with specialized knowledge or experience in a matter pertinent to the

litigation who has been retained by a Party or its counsel to serve as an expert witness or

as a consultant in this Action.
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 3 of 20

K. Non-Party — any natural person, partnership, corporation, association, or other legal entity

not named as a Party to this action.

L. Party — any Party to this Action, including all of its officers, directors, employees,

consultants, retained experts, and Counsel of Record (internal or outside) and their support

staffs.

. Producing Party — a Party or Non-Party that produces Discovery Material in this Action.

Protected Information or Items — information (regardless of how it is generated, stored, or

maintained) or tangible things that qualify for protection under Federal Rule of Civil

Procedure 26(c), such as:

1.

information, documents, or tangible things, which may include, among other
things, records or information from the U.S. Department of Homeland Security
(DHS), including U.S. Customs and Border Protection (CBP), U.S. Immigration
and Customs Enforcement (ICE), and U.S. Citizenship and Immigration Services
(USCIS), regarding law enforcement activities and operations, internal policies,
processes and/or procedures; training materials; and internal communications,
which contain information that is sensitive and confidential, including law
enforcement sensitive, information that is proprietary, such as information
concerning access to agency databases, and/or information provided on a
confidential basis from a foreign agency or authority, for instance, information
which could be protected from disclosure under FOIA, 5 U.S.C. § 552, et seq.,
under the exemption found at 5 U.S.C. § 552(b), or other applicable law;

information, documents, or tangible things protected by the Privacy Act, 5 U.S.C.

§ 552a, et seq., or information that would be covered by the Privacy Act if the
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 4 of 20

subject of the information had been a U.S. citizen or a person lawfully admitted for
permanent residence;

3. Information contained in or pertaining to: (1) asylum claims or applications,
including applications for relief under the Convention Against Torture (“CAT”)
and applications for refugee admission; (2) legalization applications under 8 U.S.C.
§ 1255a; (3) Special Agricultural Worker applications under 8 U.S.C. § 1160m; (4)
applications for temporary protected status (“TPS”) under 8 U.S.C. § 1254a; (5)
information contemplated by 8 U.S.C. § 1186a(c)(4)(C) concerning any abused
alien spouse or child, including information regarding the whereabouts of such
spouse or child (see 8 C.F.R. §§ 216.5(a)(1)(iii) and 1216.5(a)(1)(iii); 8 U.S.C. §
1154(a)(1)(A) (iii), (iv), (v), and (vi); 8 U.S.C. § 1154(a)(1)(B)(ii), (iii) and (iv));
(6) information protected by 8 U.S.C. § 1367; and 1202(f), 1304(b), and 1367(a)(2),
22 U.S.C. § 7105(c)(1)(C); 8 C.F.R. §§ 210.2(e), 214.11(e), 245a.2(t), 245a.3(n),
245a.21, 1003.27(b)-(d), 1003.46, and 1208.6;

4. identifying or other personal information;

5. all documents or tangible things protected from disclosure by Fed. R. Civ. P.
26(c)(1)(G); and

6. all other protected documents, information, or tangible things not identified above
which the Parties agree in writing, or which the Court orders, as qualifying for
protection under Federal Rule of Civil Procedure 26(c).

O. Protected Material — any Disclosure or Discovery Material from a Producing Party that

includes Protected Information and is thus designated as “CONFIDENTIAL” or

“CONFIDENTIAL — ATTORNEYS’ EYES ONLY,” including, without limitation,
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 5 of 20

documents and information produced in response to discovery requests (including third-
party subpoenas) and testimony given in deposition or at a hearing (including summaries
and compilations thereof), regardless of whether the Disclosure or Discovery Material was
produced before the issuance of this Stipulation and Order.

P. Receiving Party —a Party that receives Disclosure or Discovery Material from a Producing

Party.
II. SCOPE
The protections and procedures conferred by this Stipulation and Order cover not only
Protected Material (as defined above), but also (1) any information copied or extracted from
Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and
(3) any testimony, conversations, or presentations by Parties or their Counsel that might reveal
Protected Material.
I. DURATION
Even after final disposition of this litigation, the confidentiality obligations imposed by this
Order shall remain in effect until the Designating Party agrees otherwise in writing or a court order
otherwise directs. The Parties and any other person(s) or entity subject to the terms of this
Protective Order agree that the Court shall retain jurisdiction over it and them for the purpose of
enforcing this Protective Order.
IV. DESIGNATING PROTECTED MATERIAL

A. Exercise of Restraint and Care in Designating Material for Protection — Documents,

things, or information do not qualify for designation as Protected Material if they: (a) have
been publicly disclosed by either Party; (b) have been independently obtained by the

Receiving Party through lawful means, and are not subject to separate confidentiality
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 6 of 20

orders or obligations; or (c) the Parties agree or the Court rules that the documents, things,
or information have become public knowledge other than as a result of disclosure by the
Receiving Party. If the Producing Party challenges the Receiving Party’s invocation of this
provision, then the Receiving Party shall provide written documentation showing the
material falls within the categories of non-Protected Information referenced in this
provision. This paragraph does not purport to waive or in any other way limit any protection
that exists under law.

. Manner and Timing of Designations — Designation in conformity with this Order

requires:

1. for information in documentary form (e.g., paper or electronic documents, but

excluding transcripts of depositions or other pretrial or trial proceedings), that the
Producing Party affix the term “CONFIDENTIAL” or “CONFIDENTIAL —
ATTORNEYS’ EYES ONLY” (hereinafter “Protected legend”) to each page that
contains protected material; or designate the document or portion thereof as
“CONFIDENTIAL” or “CONFIDENTIAL — ATTORNEYS’ EYES ONLY” by
subsequent written notice.

2. for any deposition or examination testimony, when a line of questioning is likely to

result in the disclosure of Protected Information, that the deponent or examinee, or
any Party or their counsel, must:
a. state on the record that the question and answer are Protected Information
subject to this Protective Order designated as “CONFIDENTIAL” or
“CONFIDENTIAL — ATTORNEYS’ EYES ONLY, whereupon that

portion of the transcript so designated shall be separately bound and marked
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 7 of 20

with the appropriate Protected legend;

b. at any time prior to the conclusion of the deposition, designate the entirety
of the deposition as “CONFIDENTIAL” or “CONFIDENTIAL —
ATTORNEYS’ EYES ONLY” with the right to identify more specific
portions of the deposition as to which protection is sought within thirty (30)
days following the receipt of the official deposition transcript; or

c. by letter from Counsel of Record within thirty (30) days of receipt of the
official deposition transcript or copy thereof (or written notification that the
transcript is available), designate the specific pages and lines of the
transcript and/or any exhibits that should be treated as Protected
Information.

The entire deposition transcript (including any exhibits not previously produced
in discovery in this Action) shall be treated as Protected Material under this
Protective Order until 30 days after the receipt of the transcript by both parties. The
30-day period will begin to run when the last transcript copy is received. In
circumstances where portions of the deposition are designated for protection, the
transcript pages containing Protected Material may be separately bound by the court
reporter, who must affix to the top of each page the Protected legend as instructed
by the Designating Party.

During the deposition, the Producing Party will have the right to exclude from
attendance at the deposition, during such time as the Protected Information is to be
disclosed, any person other than the deponent, Counsel (including their staff and

associates), the court reporter, and the person(s) otherwise agreed upon.
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 8 of 20

3. for information produced in some form other than documentary and for any other

tangible items, that the Producing Party affix in a prominent place on the exterior
of the container or containers in which the information is stored the appropriate
Protected legend. If only a portion or portions of the information warrants
protection, the Producing Party, to the extent practicable, shall identify the

protected portion(s).

C. Inadvertent Failures to Designate — If timely corrected, an inadvertent failure to
designate qualified information or items as Protected Material does not waive the
Designating Party’s right to secure protection under this Order for such material. Upon
timely correction of a designation, the Receiving Party must make reasonable efforts to
assure that the material is treated in accordance with the provisions of this Order.

V. ACCESS TO AND USE OF PROTECTED MATERIAL

A. Basie Principles — Nothing in this Protective Order shall prohibit a Party or their legal

counsel from using or disclosing materials or information designated as
“CONFIDENTIAL” or “CONFIDENTIAL - ATTORNEYS’ EYES ONLY” as the Party
or their legal counsel would otherwise be authorized to do by law absent entry of the
Protective Order.

B. Meet And Confer — Prior to filing any motion or application before the Court to enforce

this Protective Order, the moving party shall notify all other Parties in writing and meet
and confer in good faith in an attempt to resolve their dispute(s).

C. Disclosure of Protected Material — Unless otherwise ordered by the Court, or permitted

in writing by the Designating Party, a Receiving Party may disclose any information or

item designated as Protected Material only as follows: (1) Protected Material designated as
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 9 of 20

“CONFIDENTIAL” may be disclosed to the persons and entities identified below as well

as the Named Parties and their officers, directors, and employees to whom disclosure is

necessary to assist with the prosecution or defense of this Action; (2) Protected Material

designated as “CONFIDENTIAL — ATTORNEYS’ EYES ONLY” may be disclosed to the

persons and entities identified below to the extent disclosure is necessary to assist with the

prosecution or defense of this Action but not to the Named Parties and their officers,

directors, and employees:

1.

The Parties’ Counsel of Record and Agency Counsel who are actively engaged in
the Action, including their associates, clerks, paralegals, in-house investigators,
stenographic personnel, litigation support contractors and such other regular and
temporary employees who assist counsel in connection with the Action, including
employees of any firm retained to reproduce the Discovery Material for use in
accordance with this Protective Order;
Any court adjudicating this matter, including its judges, law clerks, judicial
assistants, clerks, interpreters and stenographic personnel in connection with the
Action, in accordance with the terms of this Protective Order, including the
provisions governing filing of Protected Material;
The individuals and entities described below, provided that, in advance of
disclosure, each reads this Protective Order and agrees in writing to be bound by its
terms in the form attached hereto as Exhibit A:

a. Any designated arbiter or mediator who is assigned to hear this matter;

b. Any expert or consultant retained by Counsel or a Party to assist in the

preparation of this case, or to testify at trial or any other proceeding in this
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 10 of 20

Action;
c. Actual and potential deposition or trial witnesses in this Action (including
use in connection with the preparation of said witnesses); and
d. Any other person or entity upon such terms and conditions as the Parties
may agree or as the Court may hereafter order.
4. Proof of each written agreement provided for under paragraph V.C.3 shall be
preserved by each of the Parties while the Action is pending and be turned over to
the other Parties if ordered to do so by the Court.

D. Use Of Information Subject To Protective Order — Use of any information or documents

subject to this Protective Order shall be restricted to use in this litigation and shall not be
used by anyone subject to the terms of this Stipulated Protective Order, for any purpose
outside of this litigation or any other proceeding between the Parties. Nothing in this
Protective Order shall limit or in any way restrict the use of information obtained outside
of this litigation.

E. Filing Protected Material — Without written permission from the designating party or a

court order secured after appropriate notice to all interested persons, a Party may not file
in the public record in this Action any Confidential Information. A Party may include
Protected Material, or any information derived from Protected Material, in a Court filing
or other Court presentation only in this Action, and only if the Party (1) obtains the advance
written consent of the Designating Party to the disclosure of such materials; (11) applies to
file the materials under seal and permission is granted by the Court in this Action; or
(iii) obtains an order of the Court, after reasonable written notice and a reasonable

opportunity for the Designating Party to be heard, permitting the disclosure of such

10
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 11 of 20

materials. If a Party obtains an order of the Court under (iii) permitting the disclosure of
such materials, the Party may file the materials seven (7) days later unless the Designating
Party seeks reconsideration within seven days of the order.

VI. CHALLENGING PROTECTED DESIGNATIONS

A. Meet and Confer — A Party challenging the designation of materials or information as

Protected shall initiate the dispute resolution process by providing the Designating Party
(a) written notice of each designation it is challenging and (b) a description of the basis of
each challenge. The Parties shall then meet and confer in good faith within 7 business days
of receipt of such notice in an attempt to resolve the dispute.

B. Judicial Determination — Following such consultation, if the Parties are unable to agree

on whether the Discovery Material is appropriately designated as “CONFIDENTIAL,” or
“CONFIDENTIAL — ATTORNEYS’ EYES ONLY,” then either Party may file a motion
requesting that the Court resolve the dispute.

C. Until the Court rules on the challenged designation, all parties must continue to treat the
Discovery Material as “CONFIDENTIAL” or “CONFIDENTIAL — ATTORNEYS’ EYES

ONLY,” under.the terms of this Order.

VII. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
OTHER LITIGATION

If a Receiving Party eres a subpoena or other compulsory process from a non-party to

this Protective Order, seeking production or other disclosure of such Protected Material, then that

Party shall give electronic notice to the Designating Party that produced the Protected Material

within five (5) business days after receipt of the subpoena or other compulsory process identifying

11
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 12 of 20

the Protected Material sought and enclosing a copy of the subpoena or other compulsory process.
If the Designating Party timely seeks a protective order, then the Party to which the subpoena or
other compulsory process was issued or served shall not produce the Protected Material called for
prior to receiving a court order or the consent of the Designating Party. In the event that such
Protected Material is produced to the non-party, such material shall still be treated as Protected
Material as appropriate by the Parties to this Protective Order.

VI. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED

IN THIS LITIGATION

A. The terms of this Order are applicable to information produced by a Non-Party in this
Action and designated as Protected Material. Such information produced by Non-Parties
in connection with this litigation is protected by the remedies and relief provided by this
Order, and is subject to the conditions on disclosure provided in this Order.

B. In the event that a Party is required, by a valid discovery request, to produce a Non-Party’s
confidential information that is in the Party’s Sossesion, and the Party is subject to an
agreement with the Non-Party not to produce the Non-Party’s confidential information,
then the Party shall:

1. promptly notify in writing the Requesting Party and the Non-Party that some or all
of the information requested is subject to a confidentiality agreement with a Non-
Party or other confidentiality limitations;

2. promptly provide the Non-Party with a copy of the Protective Order in this Action,
the relevant discovery request(s), and a reasonably specific description of the
information requested; and

3. make the information requested available for inspection by the Non-Party, if

12
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 13 of 20

requested.

C. If the Non-Party fails to authorize the Party to invoke a privilege on its behalf or fails to
seek a protective order from this Court within 30 days of receiving the notice and
accompanying information, the Party in possession of the Non-Party’s confidential
information may produce the Non-Party’s confidential information responsive to the
discovery request. If the Non-Party timely seeks a protective order, the Party in possession
of the Non-Party’s confidential information shall not produce any information in its
possession or control that is subject to the confidentiality agreement with the Non-Party
before a determination by the court. Absent a court order to the contrary, the Non-Party
shall bear the burden and expense of seeking protection in this Court of its Protected
Material.

IX. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

A. If a Receiving Party learns that, by inadvertence or otherwise, it, or a person or entity to
whom it has disclosed Protected Information in accordance with this Protective Order, has
disclosed Protected Information to any person or entity in any circumstance not authorized
under this Protective Order, the Receiving Party shall, upon learning of the unauthorized
disclosure:

1. promptly notify the person(s) or entity to whom the unauthorized disclosure was
made that the unauthorized disclosure contains Protected Information subject to this
Protective Order;

2. promptly make all reasonable efforts to obtain the return of the Protected
Information and to prevent further unauthorized disclosure of the Protected

Information, including requesting the person(s) or entity who received the

13
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A.

Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 14 of 20

unauthorized disclosure to agree to be bound by the terms of this Protective Order
by executing a declaration in the form attached as “Exhibit A;” and

3. within five (5) business days notify the Producing Party and all other Parties of the

identity of the person(s) or entity to whom the unauthorized disclosure was made,
the circumstances surrounding the disclosure, and the steps taken to prevent any
use or further disclosure of the Protected Information that was the subject of
unauthorized disclosure.

CLAWBACK OF PRIVILEGED DOCUMENTS AND INFORMATION
Disclosure of. privileged documents or information, including through deposition
testimony, shall in no way prejudice or otherwise constitute a waiver of any applicable
privilege. Any privileged discovery materials or information shall be deemed to have been
inadvertently produced.

If a Party learns that documents or information produced or provided in this case include
privileged information, the Party shall provide reasonably prompt notice to the Receiving
Party of the inadvertent disclosure of privileged information. If the Producing Party
provides reasonably prompt notice following the discovery of the inadvertent disclosure,
the Party shall be deemed to have taken reasonable steps to prevent the disclosure of
privileged information and to have acted timely and adequately to rectify the disclosure.

Upon receiving notice of disclosure of privileged documents or information, the Receiving
Party must immediately return or destroy all copies of the privileged documents or
information. To the extent that the information has already been used in or described in
other documents generated or maintained by the Receiving Party, the Receiving Party must

also destroy any portions of those other documents containing the privileged information.

14
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 15 of 20

If the Receiving Party disclosed the specified documents or information before being
notified of the disclosure of privileged information, the Receiving Party must take steps to
retrieve the documents or information.

XI. MISCELLANEOUS

A. Enforceability Upon Signing — By signing the Stipulated Protective Order, the Parties agree

to be bound by its terms unless and until those terms are modified by order of the Court.

B. Right to Assert Other Objections — Entering into, agreeing to, producing or receiving

Protected Material, or otherwise complying with the terms of this Protective Order, shall
not operate as or constitute an admission by any Party that any particular Protected Material
contains or reflects information of a sensitive or personal nature or any other type of
confidential matter, or prevent the Parties from agreeing to alter or waive the provisions or
protections provided for herein with respect to particular Protected Material.

Nothing herein shall be construed to affect in any way the evidentiary admissibility of
any document, testimony or other matter at any proceeding related to this Action. The
designation of certain information as Protected Material pursuant to this Protective Order
shall not, for that reason alone, bar its introduction or use in the Action; provided, however,
that every effort shall be made to preserve the confidentiality of the Protected Material.

Neither the taking of any action in accordance with the provisions of this Protective
Order, nor the failure to object thereto, shall be construed as a waiver of any claim or
defense in this case, and the entry of this Protective Order shall not be construed as the
waiver of any right to object to the furnishing of information in response to discovery and,
except as expressly provided, shall not relieve any Party of the obligation of producing

information in the course of discovery.

15
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 16 of 20

Nothing in this Protective Order shall limit or reduce the Parties’ appellate rights arising
from any order or judgment arising in connection with the Action.

Nothing in this Protective Order shall bar counsel from rendering advice to their clients
with respect to this litigation and, in the course thereof, relying upon any information
designated as Protected Material.

XII. FINAL DISPOSITION

Unless otherwise agreed in writing, within 90 days of the conclusion of the Action (defined
as the exhaustion of all appeals by any Party to the Action), a Receiving Party must take reasonable
steps to destroy or return Protected Material to the Designating Party. Counsel may retain that
counsel’s work product materials and their file copies of all expert reports, papers filed with the
Court, correspondence, transcripts, or deposition or trial exhibits. Any such work product materials
or papers shall continue to be treated pursuant to the terms of this Protective Order. Attorneys for
the United States may maintain copies of any Protected Material in their case file for this case, and
may maintain copies of any notes or summaries derived from such Protected Materials, subject to
44 U.S.C. § 3101, et seqg., and 5 U.S.C. § 552, et seq.

Materials that exist on back-up tapes, systems, or similar storage need not be immediately
deleted or destroyed, and, instead, such materials may be overwritten and destroyed in the normal
course of business. Until they are overwritten in the normal course of business, the Receiving Party
will take reasonable steps to limit access, if any, to the persons necessary to conduct routine IT
and cybersecurity functions.

IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD

16
Case 1:25-cv-00306-RDM Document 40_ Filed 03/18/25 Page 17 of 20

DATED: March 14, 2025 /s/ Lee Gelernt
Lee Gelernt (D.D.C. Bar No. NY0408)
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Counsel for Defendants

17
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 18 of 20

IT ISSO ORDERED

Dated: Merk 3, D02-S add. Nn

Honorible Randolph D. Moss

nited States District Court Judge

18
Case 1:25-cv-00306-RDM Document 40 _~ Filed 03/18/25 Page 19 of 20

EXHIBIT A

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Refugee and Immigrant Center
For Education and Legal Services, et al.,

Plaintiffs,

Vv. Civil Action No. 1:25-cv-00306

Kristi Noem, Secretary, U.S.
Department of Homeland
Security, et al.,

Defendants.

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AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

L , have read and understood the Protective Order

entered in the case of Refugee and Immigrant Center for Education and Legal Services, et al. v.
Kristi Noem, et al., Case No. 1:25-cv-00306 (D.D.C.), and agree to be bound by all of its terms,
including agreeing not to disclose in any manner any information or item that is subject to this
Protective Order to any person or entity except in strict compliance with the provisions of this
Protective Order. I understand and acknowledge that failure to so comply could expose me to
sanctions and punishment in the nature of contempt, and agree to submit to the jurisdiction of the
United States District Court for the District of Columbia for the purposes of enforcing the terms
of the Protective Order, even if such enforcement proceedings occur after termination of this
action.

Dated:

Signature

19
Case 1:25-cv-00306-RDM Document 40 Filed 03/18/25 Page 20 of 20
